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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


            JOHN DOE M.D.,

                Plaintiff,
                                                    Case No. 21-cv-13032
                    v.
                                                 U.S. DISTRICT COURT JUDGE
    THE BOARD OF REGENTS OF THE                     GERSHWIN A. DRAIN
   UNIVERSITY OF MICHIGAN, ET AL.,

            Defendants.
 ______________                         /

                                   JUDGMENT

      Pursuant to the Opinion and Order entered on this date; judgment is hereby

entered in favor of the Defendants and against the Plaintiff.



      SO ORDERED.

Dated: June 16, 2022                                /s/Gershwin A. Drain
                                                    GERSHWIN A. DRAIN
                                                    United States District Judge



                             CERTIFICATE OF SERVICE

           Copies of this Order were served upon attorneys of record on
                June 16, 2022, by electronic and/or ordinary mail.
                               /s/ Teresa McGovern
                                    Deputy Clerk
